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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOURTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAVID TRAN                 §
                           §
VS.                        §                        NO. 4:15-CV-02779
                           §
NATIONWIDE PROPERTY AND    §
CASUALTY INSURANCE COMPANY §
AND SCOTTIE R. AYERS       §                        JURY DEMANDED

     AGREED MOTION FOR REMAND BASED ON STIPULATION OF DAMAGES

       Plaintiff, David Tran, and Nationwide Property and Casualty Insurance Company and

Scottie R. Ayers, through their undersigned attorneys, hereby file their Agreed Motion for

Remand Based on Stipulation of Damages. The parties would respectfully show the court as

follows:

1.     A court may remand a case at any time on the basis of a defect in subject matter

jurisdiction identified in a Motion for Remand. 28 U.S.C. § 1447(c). The amount in controversy

must exceed $75,000.00 for the court to exercise diversity jurisdiction under 28 U.S.C. §1332(a).

2.     This case was removed based on diversity jurisdiction. (Doc. 1).

3.     After filing of the removal, Plaintiff has stipulated that he will not seek damages in

excess of $74,999.99, including any damages related to economic damages, consequential

damages, punitive damages, statutory damages, attorneys’ fees, and any other element of

damages exclusive of interest and court costs. Plaintiff agrees neither to seek nor to accept any

amount in excess of $74,999.99 for all damages and attorney’s fees, exclusive of interest and

costs, sought from Nationwide Property and Casualty Insurance Company and/or Scottie R.

Ayers, or any person or entity acting on its behalf, in this case, on any cause of action now




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asserted or that might be asserted at any time in the future by Plaintiffs in relation to the above-

entitled cause of action.

4.     That stipulation was been filed with the Court prior to this Motion.

5.     Defendant has accepted and relied upon that stipulation.

6.     Based on Plaintiff’s written stipulation that the amounts in controversy do not exceed

$74,999.99 exclusive of interest and costs, remand is now appropriate.

7.     However, the parties agree that, should Plaintiffs violate the foregoing stipulation, then in

addition to Defendant’s other available remedies such as filing motions for contempt or to

enforce the stipulation – Defendant has also reserved the right to seek removal of this case.

                                         CONCLUSION

8.     Based on Plaintiff’s written stipulation that the amount in controversy does not exceed

$74,999.99, exclusive of court costs, remand is now appropriate. In addition to other remedies,

Defendant specifically reserves the right to seek removal again if the Plaintiff ever violates the

damages stipulation.



                                      Respectfully submitted,

                                      s/ Jason M. Byrd
                                      Jason M. Byrd
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                                      Federal ID No. 35780
                                      Attorney in Charge
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                                      ATTORNEYS FOR PLAINTIFF




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                                    s/ James R. Carsey
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                                    ATTORNEY FOR DEFENDANT

                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to all counsel of record, in accordance with the Federal Rules of Civil Procedure this
3rd day of November, 2015.

       James R. Carsey                             VIA ECF
       Thompson Coe Cousins & Irons, LLP
       One Riverway, Suite 1400
       Houston, Texas 77056



                                                   s/ Jason M. Byrd
                                                   Jason M. Byrd




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